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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA


X CORP.
                                         Case No. _________________
                 Movant,
                                         Underlying Case, United States v.
v.                                       Twitter, pending in the United States
                                         District Court for the Northern District of
ERNST & YOUNG, LLP,                      California:

                 Respondent.             No. 22 Civ. 3070




          X CORP.’S MEMORANDUM OF LAW IN SUPPORT OF ITS
     MOTION TO COMPEL COMPLIANCE WITH SUBPOENA DUCES TECUM
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I.     INTRODUCTION

       As part of a consent order entered into with the Federal Trade Commission (FTC), X Corp.

(successor in interest to Twitter, Inc.) was required to retain “qualified, objective, independent

third-party professionals” to evaluate the company’s privacy and information security program. X

Corp. retained EY for that role. X Corp. recently learned, however, that the FTC has undertaken

an extraordinary and highly improper pressure campaign attempting to influence EY’s evaluation.

That startling revelation led X Corp. to file a motion in the Northern District of California seeking

prospective relief from the consent order. X Corp. has sought continually to obtain from EY

documents and information relevant to the FTC’s misconduct and to X Corp.’s motion, but EY—

likely fearing the FTC’s wrath—has not produced it. The nonprivileged information that X Corp.

seeks from EY is directly relevant to X Corp.’s pending motion. It would be hard to imagine

anything more relevant to a claim of witness intimidation than documents from that witness. X

Corp.’s request therefore readily satisfies the standard for discovery under the Federal Rules of

Civil Procedure, and this Court should compel EY to comply with the subpoena.

       More specifically, X Corp.’s motion argues that the FTC’s investigative conduct

demonstrates that its investigation has become infected by bias and no longer serves lawful

purposes. As relevant here, recent sworn testimony by EY’s lead engagement partner details how

the FTC, through a series of interactions with EY shortly after Elon Musk acquired Twitter,

attempted to co-opt EY’s independent assessment in order to generate evidence of “deficiencies in

Twitter’s privacy and information security program.” These efforts included dictating to EY “very

specific types of procedures that they expected” EY to perform and “[conveying] expectations …

about what th[e] results should be before [EY] had even begun any procedures.” The FTC was so

“adamant” with EY, conveying that “this is absolutely what you will do and this is going to occur,




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and you’ll produce a report at the end of the day” that would be negative about Twitter, that senior

EY leaders feared that, if EY resigned as the independent assessor, “[t]he FTC [would] take[]

exception to [EY’s] withdrawal and create[] ‘other’ challenges for EY over time.” In sworn

testimony, EY’s representative stated he “felt as if the FTC was trying to influence the outcome of

the engagement before it had started.”

       EY thus has critical information necessary to the fair adjudication of X Corp.’s pending

motion. But aside from a handful of documents introduced during the testimony of the EY

engagement lead, X Corp. has no insight into the documentary evidence of the FTC’s meddling in

EY’s assessment, nor the impact of the FTC’s uncommon belligerence toward EY. X Corp. has

reason to believe that within EY’s possession, custody, or control there exists additional evidence

of the FTC’s prejudgment of its investigation into X Corp., its bad-faith efforts to manufacture

evidence damaging to X Corp., and other inequitable conduct warranting the relief sought in X

Corp.’s motion. X Corp. explained this to EY and worked in good faith to identify a reasonable

category of materials for EY to produce, but EY would agree only to a few emails memorializing

discussions with the FTC. This left X Corp. with no choice but to subpoena EY.

       In response, EY halfheartedly asserted a list of boilerplate, general objections that fail to

provide specifics as to purported lack of relevance, breadth, burden, and proportionality with

respect to the actual document requests at issue. The Court should overrule those meritless

objections and order EY to comply with the subpoena in full.

II.    FACTUAL BACKGROUND

       A.      Twitter’s First Consent Order with the FTC

       Twitter and the FTC first entered into a consent order in 2011. Decision & Order, In the

Matter of Twitter, Inc., Docket No. C-4316 (F.T.C. Mar. 2, 2011), bit.ly/3JS2P2M (the “2011

Order”). The 2011 Order resulted from an FTC investigation into incidents of unauthorized access



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to Twitter’s systems and resolved charges that Twitter violated the FTC Act, 15 U.S.C. § 45, by

misrepresenting the extent to which it protected nonpublic user information from unauthorized

access and honored users’ privacy choices. Complaint at 3–5, In the Matter of Twitter, Inc., Docket

No. C-4316 (F.T.C. Mar. 2, 2011), bit.ly/3XQlK47. The 2011 Order required Twitter, among

other things, to establish a “comprehensive information security program” meeting certain

parameters and to obtain biennial assessments of that program by a third-party professional. 2011

Order at 3–4.    Over the next eight years, from 2011 to 2019, Twitter operated under the 2011

Order and completed required assessments while receiving approximately ten demand letters from

the FTC. Koffmann Decl. ¶ 19.

       B.       Twitter’s Second Consent Order with the FTC

       In October 2019, Twitter publicly and voluntarily disclosed that, “some email addresses

and phone numbers provided for account security may have been used unintentionally for

advertising purposes.” See Twitter Support (@TwitterSupport) Twitter (Oct. 8, 2019, 4:02 PM),

bit.ly/43i8fel; see also Concurring Statement of Comm’r Christine S. Wilson and Comm’r Noah

Joshua Phillips, Twitter, Matter No. 2023062 at 6 (May 25, 2022), bit.ly/43h5euU. The FTC

investigated the report, sending approximately 15 demand letters to Twitter over a two-year period.

Koffmann Decl. ¶ 20. On May 25, 2022, the Department of Justice and the FTC filed a complaint

in the Northern District of California alleging that Twitter violated the 2011 Order and Section 5

of the FTC Act by misrepresenting the extent to which Twitter maintained and protected the

privacy of nonpublic consumer information. United States v. Twitter, Dkt. 1. On May 26, 2022,

the Northern District of California court entered a Stipulated Order for Civil Penalty, Monetary

Judgment, and Injunctive Relief resolving the 2022 complaint. United States v. Twitter, Dkt. 11.

Twitter consented to the FTC’s reopening of the 2011 proceeding and entry of the new consent

order attached to the Stipulated Order, which the FTC did on May 26, 2022. Decision & Order,



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In re Twitter, Inc., Docket No. C-4316, (F.T.C. May 26, 2022), bit.ly/44IrdvJ (the “Consent

Order”).

       The Consent Order created a compliance structure tailored to Twitter’s operations at that

time. Part V of the Consent Order mandates that Twitter establish and maintain a “comprehensive

privacy and information security program” (the “Program”) in order to “protect[] the privacy,

security, confidentiality, and integrity” of certain user information. Consent Order at 4. The Order

details the required content of the program, including, for example, the development and

evaluation of risk-appropriate safeguards, employee training, and monitoring and reporting of

certain security incidents to the FTC. See Consent Order Part V.E–I. The Order required Twitter

to implement the Program by November 22, 2022. Id., Part V.

       C.      EY’s Role

       Assessment of Twitter’s Program by “qualified, objective, independent third-party

professionals” forms a core part of the Consent Order. Consent Order at 8. As the FTC itself

explained in relation to an analogous provision of the 2011 Order: “The very purpose of a security

or privacy order’s assessment provision is to ensure that evaluation of a respondent’s security or

privacy program is truly objective—i.e., unaffected by the interests (or litigation positions) of

either the respondent or the FTC.” Ex. 2. Part VI of the Order sets forth detailed requirements for

those assessments, which must cover five specific elements:            (1) whether Twitter “has

implemented and maintained the Program,” (2) “the effectiveness of [Twitter’s] implementation

and maintenance” of the Program, (3) identification of “any gaps or weaknesses in, or instances of

material non-compliance with, the Program[,]” (4) the status of any previously identified gaps or

weaknesses, and (5) identification of the evidence the assessor relied upon and an explanation of

why that evidence was appropriate and sufficient for its analysis. Consent Order Part VI.D. The

assessor must sign its work and certify that it “conducted an independent review of the Program



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and did not rely primarily on assertions or attestations by [Twitter’s] management.” Id. The

independence of the assessor is paramount. Id.

       In July 2022, Twitter executed a Statement of Work (“SOW”) with accountancy EY to

perform the initial assessment required under Part VI.        EY agreed to perform services in

accordance with the American Institute of Certified Public Accountants’ Standards for Consulting

Services 100 (the “Professional Standards”). Ex. 3 at 3. The Professional Standards required EY

to “[s]erve the client interest by seeking to accomplish the objectives established by the

understanding with the client while maintaining integrity and objectivity.” Ex. 4 at 4. EY further

agreed in the SOW that “EY [would] not: ... Perform any task or service that in EY’s judgment

may impair EY’s independence to provide future services of the Subject Matter under the audit or

attestation standards.” Ex. 3 at 3. Similarly, the Code of Professional Conduct for Certified Public

Accounts (“CPAs”) requires that when performing professional services, CPAs “shall maintain

objectivity and integrity, shall be free of conflicts of interests, and shall not knowingly

misrepresent facts or subordinate his or her judgment to others.” Code of Pro. Conduct R.

1.100.001 (Am. Inst. of Certified Pub. Accts. 2020), bit.ly/3NVT7xU (“AICPA Code of

Conduct”). That Code defines “adverse interest threat” and “undue influence threat” as categories

of “circumstances that could impair independence.” Id. Rule 0.400.49. Undue influence threats

include attempts by interested parties “to coerce the [CPA] or exercise excessive influence.” Id.

R. 1.210.010.16. CPAs also have an ethical obligation to avoid or resolve “[o]bstacles to following

an appropriate course of action due to internal or external pressures.” Id. R. 1.000.020.

       D.      Elon Musk’s Acquisition of Twitter

       On April 25, 2022, Elon Musk signed an agreement with Twitter to acquire the company

and take it private, effective October 27, 2022. Koffmann Decl. ¶ 21. As Twitter later explained

to the FTC during the post-acquisition period, “Twitter [was] undergoing a fundamental



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transformation” that involved, among other things, “a substantial overhaul of its organizational

structure, budgeting, revenue-generation priorities, and other fundamental aspects of the business.”

Ex. 5. As part of Mr. Musk’s new plan for the company, Twitter, Inc. was merged into X. Corp.,

with X Corp. as the surviving entity, on March 15, 2023. Ex. 6.

       E.      The FTC’s Attempts to Influence the Independent Program Assessment

       On June 21, 2023, the FTC deposed David Roque, the engagement partner for EY’s

independent assessment of Twitter’s Program. Ex. 7. The deposition came about because EY

resigned its position as X Corp.’s independent assessor on February 27, 2023. The FTC—already

in the throes of an investigation into Twitter that the agency itself chose to publicize—issued

subpoenas seeking documents and testimony from EY immediately upon EY’s resignation. Ex. 8.

       Mr. Roque’s testimony and the documents introduced at his deposition raised serious

concerns about the way the FTC has conducted its investigation. For example, Mr. Roque testified

that the FTC’s conduct made him “fe[el] as if the FTC was trying to influence the outcome of the

engagement before it had started.” Ex. 7 at 120:20–22. He testified:

               [EY’s] obligation under our contract is to go in and do the
               independent assessor report and then report the facts based on the
               results. In some of the discussions that we were having with the
               FTC, expectations were being conveyed about what those results
               should be before we had even begun any procedures, and I was
               concerned that there was this adversarial situation occurring where
               you had two competing parties that, stepping back, both had a desire
               for a certain outcome to occur that may not have always been
               aligned.

Id. at 122:4-14. “[T]he way the conversations with the FTC were transpiring” was so startling and

unusual that Mr. Roque worried that the FTC posed “an adverse threat [to EY],” meaning that the

FTC constituted “somebody outside of the arrangement [EY] had with Twitter trying to influence

the outcome of [EY’s] results.” Id. at 120:23–121:2.




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       When the FTC attorney deposing Mr. Roque asked him to confirm that “no one from the

FTC directed you to reach a particular conclusion about Twitter’s program,” he explained that, to

the contrary, “[t]here w[ere] suggestions of what they would expect the outcome to be.” Id. at

122:20–24. Mr. Roque testified that the “outcome” he perceived the FTC expected was that EY

“would conclude that there were deficiencies in Twitter’s privacy and information security

program.” Id. at 120:20–22, 200:19–201:3.

       Mr. Roque also detailed the heavy-handed manner in which the FTC sought to ensure EY

would generate evidence damaging to Twitter. He testified that the FTC communicated to EY

“that Ernst & Young, under all circumstances, will be conducting and issuing a report on behalf

of the FTC order. So it was sort of like it was very adamant about this is absolutely what you will

do and this is going to occur, and you’ll produce a report at the end of the day.” Id. at 200:2–8.

Mr. Roque felt this adamance was “surprising” given that the FTC could not know what would

“transpire[] over the next six to seven months before that report was due.” Id. at 200:9–12. The

FTC also told Mr. Roque that the “FTC would be surprised if there [were] areas on our report that

didn’t have findings based on information the FTC was already aware of,” and that if EY “didn’t

have findings in those areas” then it “should expect the FTC would follow up very significantly to

understand why we didn’t have similar conclusions.” Id. at 124:14–21.

       Mr. Roque also testified that at a meeting in January 2023, the FTC gave EY “a list of

specific[] . . . types of procedures they were expecting us to execute” and “provid[ed] areas that

they were expecting us to look at” in connection with its “independent” assessment under the

Consent Order. Id. at 201:11–15. “It was almost as if [they] were giving us components of our

audit program to execute.” Id. at 203:17–21. Mr. Roque explained that this level of “third party”

involvement in an independent testing engagement was “unusual,” especially since EY conceived




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of its auditing role as limited to “look[ing] at the processes and controls” that make up the required

elements of the Program and how they operate, “[n]ot going into some of the one-offs, very specific

details [FTC staff] were asking us about.” Id. at 203:13–204:25.

       Contemporaneous communications within EY corroborate Mr. Roque’s testimony. For

example, Mr. Roque and his EY colleagues were concerned that, by “pressuring [EY] to reach a

specific outcome,” the FTC’s conduct had created an “[u]ndue influence threat” that interfered

with EY’s “ab[ility] to be objective.” Ex. 9 at 1; see also Ex. 10 at 3 (discussing how the FTC’s

conduct jeopardized EY’s ability to “act with objectivity”). Other internal EY communications

show that Mr. Roque perceived a risk that, if EY resigned as Twitter’s independent assessor, “[t]he

FTC [will] take[] exception to our withdrawal and create[] ‘other’ challenges for EY over time.”

Ex. 11 at 1.

       F.      X Corp.’s Motion To Terminate the Consent Order

       X Corp. attempted to resolve its dispute with the FTC without judicial intervention, but its

attempts served only to compound its concerns about the FTC’s bias and partiality. Following the

deposition of Mr. Roque, the company sought information and documents from the FTC regarding

its contacts with EY, the company that succeeded EY as Twitter’s independent assessor, and

another company that Twitter considered but did not select to succeed EY. Ex. 12. In its July 6,

2023 response, the FTC stonewalled and refused to provide any information, much less evidence,

that would dispel the inescapable conclusion that it had prejudged its investigation of X Corp. and

Mr. Musk. Ex. 13. Instead, the FTC’s letter spent pages laying out an argument that Mr. Roque’s

testimony could establish a violation of Part VII of the Consent Order before asserting that the

agency “hold[s] no preconceived notions for the outcome of this investigation. . . . Over the past

several years, we investigated numerous privacy and data security issues at [pre-Musk] Twitter

that did not result in enforcement action.” Id. at 5. In response to X Corp.’s follow-up letter, the



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FTC asserted that its “rights to seek information and obtain discovery are not reciprocal” and

threatened to treat failure to comply with its demands as violations of the Consent Order. Ex. 14.

       On July 13, 2023, X Corp. filed a motion seeking (1) a protective order staying the notice

of deposition of Elon Musk, and (2) an order terminating or modifying the consent order or staying

enforcement of the consent order. Ex. 1. This motion, which is set for hearing on November 16,

2023, asks the court to rein in the FTC’s investigation that has spiraled out of control and become

tainted by bias, and to terminate a misfit consent order that no longer can serve any proper equitable

purpose. The FTC’s communications with EY lie at the heart of X Corp.’s motion, which alleges

that the FTC’s irregular and improper conduct is an attempt to co-opt EY’s independent assessment

in order to generate evidence of deficiencies in X Corp.’s privacy and information security

program.

       G.      X Corp.’s Attempts to Obtain Relevant Evidence From EY

       Before sending its subpoena, X Corp. sought the voluntary production of documents from

EY. Over the course of numerous phone calls and emails, counsel for X Corp. requested the

following documents:

       1.      All written communications between EY and FTC/FTC staff from May 26, 2022 to
               present.

       2.      All documents, communications, or other materials that describe, summarize,
               memorialize, or otherwise record or attempt to record any oral communications
               between EY and FTC/FTC staff from May 26, 2022 to present.

       3.      All other documents or communications relating to written or oral communications
               with FTC/FTC staff from May 26, 2022 to present.

Koffmann Decl., ¶ 22; Ex. 15. Counsel for X. Corp. offered to discuss any privilege issues that

might arise. Id.; Koffmann Decl., ¶ 22.

       EY declined to produce anything except for “EY’s non-privileged communications with

the FTC – on the condition that Twitter does not subsequently seek the production of additional




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EY materials.” Ex. 15.

          H.     X Corp.’s Subpoena to EY

          On August 3, 2023, in accordance with Rule 45(a)(4) of the Federal Rules of Civil

Procedure, X Corp. served the subpoena on EY. The subpoena seeks, in relevant part, the

following:

          1.     All communications between EY and the FTC.

          2.     All documents or communications that describe, summarize, memorialize, or
                 otherwise record or attempt to record any oral communications between EY and
                 the FTC.

          3.     All other documents or communications relating to written or oral communications
                 between EY and the FTC.

          4.     All communications relating to David Roque’s testimony on June 21, 2023.

          5.     All communications relating to the motion filed by X Corp. in United States v.
                 Twitter on July 13, 2023.

Ex. 16.

          I.     EY’s Boilerplate Objections to the Subpoena

          On August 15, 2023, EY served responses and objections to the subpoena. Ex. 17. In its

response, EY refused to produce any documents, despite its prior agreement to produce certain

materials. See id. In purported support of its objections, EY recited the following rote objections,

among others: “The subpoena is overly broad, unduly burdensome, . . . seeks documents that are

not relevant to the claims or defenses of any party to the Action, . . . [violates] Rule 26(f), . . . seeks

information or requests the production of documents that are protected from discovery by the

attorney-client privilege, the work product doctrine, or any other applicable privilege, . . . [is]

vague, . . . seeks information or requests the production of documents . . . which are not reasonably

accessible . . . [and] imposes an insufficient amount of time for compliance.” Id.




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       On August 21, 2023, counsel for X Corp. and EY met and conferred via telephone

conference regarding the subpoena, and counsel for X Corp. offered to narrow the scope of

Requests 1, 2, and 3 to communications between EY and the FTC that related to Twitter, X Corp.,

or Mr. Musk. Koffmann Decl. ¶ 23. X Corp. also offered to narrow the subpoena to the documents

that EY previously produced to the FTC in response to the FTC’s subpoena. Id. On August 24,

2023, counsel for EY confirmed that EY would not be producing any documents in response to X

Corp.’s subpoena. Id.

III.   LEGAL STANDARD

       Rule 45 of the Federal Rules of Civil Procedure provides that—via a subpoena—a party

may command a non-party to (i) produce documents in its possession, custody, or control and

(ii) attend and testify at a deposition. Fed. R. Civ. P. 45(a)(1)(A)–(B). Courts first “consider

whether the discovery sought is relevant to a party’s claim or defense in the underlying litigation,

as defined in Rule 26(b)(1).” BuzzFeed, Inc. v. Dep’t of Justice, 318 F. Supp. 3d 347, 356 (D.D.C.

2018).1 The relevant standard under Rule 45 is the same as under Rule 26. Stati v. Kazakhstan,

Civil Action No. 14-1638 ABJ/DAR, 2020 WL 3259244, at *4 (D.D.C. June 5, 2020). Under this

standard, “[a] party may . . . issue a subpoena ‘regarding any nonprivileged matter that is relevant

to any party’s claim or defense and proportional to the needs of the case.’” Id. (quoting Fed. R.

Civ. P. 26(b)(1)). In this context, something is relevant “if there is any possibility that the

information sought may be relevant to the claim or defense of any party.” In re Denture Cream

Prods. Liability Litig., 292 F.R.D. 120, 124 (D.D.C. 2013) (emphasis added). “The party moving

to compel production of documents bears the initial burden of explaining how the requested




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  Unless otherwise indicated, this brief omits internal quotation marks, citations, alterations, and
omissions from legal citations.



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information is relevant.” Jewish War Veterans of the U.S. of Am., Inc. v. Gates, 506 F. Supp. 2d

30, 42 (D.D.C. 2007). “Once that showing is made, however, the burden shifts to the objecting

party to explain why discovery should not be permitted.” Id.

       Next, the Court assesses objections by the recipient under Rule 45, which directs courts to

“quash subpoenas that call for privileged matter or [that] would cause an undue burden.” Watts v.

S.E.C., 482 F.3d 501, 508 (D.C. Cir. 2007). “The burden lies on the party resisting discovery to

show that the documents requested are either unduly burdensome or privileged.” In Re Micron

Tech., Inc. Secs. Litig., 264 F.R.D. 7, 9 (D.D.C. 2010).

IV.    ARGUMENT

       X Corp.’s subpoena seeks relevant documents going to the heart of its argument for relief

from the consent order. EY’s objections are (i) boilerplate and insufficient to meet its burden of

establishing that the requested discovery should be denied, (ii) meritless, or (iii) inapplicable. The

Court should overrule EY’s objections and order it to comply with X Corp.’s subpoena in full.

       A.      The Subpoena Seeks Relevant Documents

       X Corp.’s subpoena seeks documents and communications directly relevant to its claim

that FTC misconduct has tainted the investigation in the underlying action. EY’s documents could

hardly be more relevant, since the testimony of one of its partners about his exchanges with FTC

staff is a critical piece of evidence supporting X Corp.’s motion. As Mr. Roque’s testimony

revealed, the FTC’s conduct made him “fe[el] as if the FTC was trying to influence the outcome

of the engagement before it had started.” Ex. 7 at 120:20–22. “In some of the discussions … with

the FTC, expectations were being conveyed about what those results should be before we had even

begun any procedures.” Id. at 122:3–10. According to Mr. Roque, he felt that the FTC was

attempting to “influence” EY to reach the conclusion that “there were deficiencies in Twitter’s

privacy and information security program.” Id. at 120:20–22, 200:19–201:3. He was so concerned



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by the FTC’s communications that he and his colleagues discussed whether the agency threatened

to become an “adverse threat” to EY’s independence or a party “outside of the arrangement we

had with Twitter trying to influence the outcome of our results.” Id. at 120:20–121:2.

       The choice of words is meaningful—Mr. Roque was worried that the FTC was making

itself an adverse or undue influence threat to EY’s contractual, ethical, and professional

obligations. See AICPA Code of Conduct R. 1.210.010.16 (defining undue influence threat to

include attempts by “interested parties to coerce the [CPA] or exercise excessive influence”). Nor

did the FTC stop at applying pressure for its favored outcome: it also attempted to dictate the

content and procedures of EY’s assessment. Mr. Roque testified that “[i]t was almost as if [FTC

staff] were giving us components of our audit program to execute.” Ex. 7 at 203:17–21. He

explained that this level of “third party” involvement in an independent testing engagement was

“unusual,” especially because EY’s role was to “look at the processes and controls” that make up

the required elements of the Program and how they operate, “[n]ot [to] go[] into some of the one-

offs, very specific details [FTC staff] were asking us about.” Id. at 203:13–204:25.

       Evidence of FTC overreach can be seen in the limited set of EY’s internal communications

already obtained by X Corp., dating to when EY considered resigning as the independent assessor.

At the same time that EY was “concern[ed]” that the FTC constituted an “[u]ndue influence threat”

because it is “pressuring us to reach a specific outcome and therefore we may not be able to [be]

objective,” Ex. 9, senior EY leaders perceived the risk that, if they were to resign, “[t]he FTC [will]

take[] exception to our withdrawal and create[] ‘other’ challenges for EY over time.” Ex. 11.

       This record is alarming. It shows how the FTC has attempted to bully EY into acting as an

arm of its enforcement staff digging up dirt on X Corp., rather than an objective, independent,

third-party auditor bound by its own contractual, ethical, and professional obligations of




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independence and objectivity. This is extraordinary misconduct and central to X Corp.’s claims

that the FTC has improperly influenced the content and outcome of an investigation that the

Consent Order requires to be objective and independent. The FTC’s efforts to trample the

professional, contractual, and ethical obligations of EY in an attempt to engineer the outcome of

an “independent” assessment has infected the FTC’s investigation with unfairness, and EY’s

communications with the FTC played a central role.

       In short, the FTC appears to have engaged in a form of witness tampering; whatever else

can be said about that conduct, the witness’s testimony is surely relevant to assessing it. X Corp.’s

subpoena therefore seeks “matter that bears on, or that reasonably could lead to other matter that

could bear on” its claims. United States ex. Rel. Shamesh v. CA, Inc., 314 F.R.D. 1, 8 (D.D.C.

2016). Discovery of EY’s communications with the FTC would shed further light on the extent to

which the FTC sought to influence EY’s independent assessment of X Corp. so that it would reach

the FTC’s favored outcome instead of the one that an objective, unbiased assessment would reach.

Those documents are therefore not just “relevant,” but critical, to the “claim” X Corp. asserts in

the underlying action. In re Denture Cream Prods. Liability Litig., 292 F.R.D. at 124.

       EY’s relevance arguments are misplaced. First, EY is wrong that “there are no claims or

defenses pending” in the Northern District of California. Ex. 17 at 2. As EY recognizes, “[t]he

Court retained jurisdiction ‘for purposes of construction, modification, and enforcement’ of the

Stipulated Order,” Ex. 17 at 2, and X Corp.’s motion to modify the Consent Order is currently

pending, see United States v. Twitter, Dkt. 17 (motion for Protective Order and Relief from

Consent Order filed July 13, 2023); Dkt. 33 (order granting stipulation extending deadlines to

respond to motion through fall); Dkt. 34 (setting hearing on motion for November 2023). The

discovery requests pertain directly to X Corp.’s claim for relief under Rule 60. See Ex. 16 at 8




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(seeking “All communications relating to the motion filed by X Corp. in [United States v. Twitter]

on July 13, 2023[.]”).

       Second, it is irrelevant that the Consent Order authorizes the FTC to seek extra-judicial

discovery. X Corp. has every right to seek this discovery in connection with its pending motion

to modify the consent order. A federal district court possesses the power to enforce its judgments,

including consent decrees. Frew ex rel. Frew v. Hawkins, 540 U.S. 431, 432 (2004) (“Federal

courts are not reduced to approving consent decrees and hoping for compliance. Once entered,

that decree may be enforced.”); United States v. Conces, 507 F.3d 1028, 1039–40 (6th Cir. 2007)

(recognizing permissibility of post-judgment discovery for purpose of monitoring compliance

with the court’s judgment and award of injunctive relief). One tool to aid the court in enforcing

its judgments is discovery, and post-judgment discovery may inform how the Consent Order

should be enforced and whether it should be modified. Id.; California Dep’t of Soc. Servs. v.

Leavitt, 523 F.3d 1025, 1033 (9th Cir. 2008) (determining courts have inherent power to enforce

their judgments, including by granting post-judgment discovery to determine compliance with

judgments and orders); cf. Fed. R. Civ. P. 69(a)(2) (permitting discovery “[i]n aid of the judgment

or execution” for money judgments); Republic of Argentina v. NML Cap., Ltd., 573 U.S. 134, 137–

38 (2014) (ruling in favor of motion to compel third-party discovery post-judgment). EY’s

objection misapprehends the nature of the court’s continuing jurisdiction and the direct relevance

of the documents sought to X Corp.’s pending motion, and should be overruled.

       Third, it is notable that EY raised no relevance objections when the FTC sought discovery

from EY back in March.        If EY’s documents and testimony were relevant to the FTC’s

investigation into X Corp., they surely must be relevant to X Corp.’s contention that the FTC’s

bullying, overreach, and other misconduct in the course of its investigation justify termination or




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modification of the consent order. EY cannot credibly maintain that the documents X Corp. seeks

in the subpoena are not relevant to X Corp.’s motion when the documents the FTC obtained

through subpoena state that the FTC was “pressuring [EY] to reach a specific outcome,” Ex. 9 at

1; the FTC’s conduct had created an “[u]ndue influence threat” that interfered with EY’s “ab[ility]

to be objective,” id.; and [t]he FTC [will] take[] exception to our withdrawal and create[] ‘other’

challenges for EY over time.” Ex. 11 at 1.

       B.      EY’s Boilerplate Objections Are Insufficient To Meet Its Burden

       EY’s formulaic recitation of generic objections to the subpoena cannot rebut X Corp.’s

showing of relevance. Courts appropriately reject such objections because they “do not comply

with Fed. R. Civ. P. 34(b).” United States v. Mass. Hous. Fin. Agency, No. 99 Civ. 1343 (RCL),

2005 WL 8178349, at *3 (D.D.C. Aug. 23, 2005). “Vague and conclusory assertions are not

sufficient; rather, a showing of undue burden ‘must be specific’ and concrete.” Fairholme Funds,

Inc. v. Fed. Hous. Fin. Agency, No. 13 Civ. 1053 (RCL), 2019 WL 5864595, at *2 (D.D.C. Nov.

8, 2019). In this instance, EY’s response to the subpoena recites boilerplate objections with no

examples or reasoning as to how they apply to each request. See Ex. 17. The Court should overrule

these boilerplate objections for this reason alone. See Mass. Hous. Fin. Agency, 2005 WL

8178349, at *3 (“Specific objections are required, because the requesting party and the court must

be able to effectively evaluate the propriety of objections.”); see also Kinetic Concepts, Inc. v.

ConvaTec Inc., 268 F.R.D. 226, 247 (M.D.N.C. 2010). Furthermore, as explained below, all the

objections enumerated above—including the boilerplate objections—are meritless or inapplicable.

       C.      Rule 26(f) Has No Bearing On EY’s Obligations To Respond

       EY’s objection based on a vague allusion to Rule 26(d) of the Federal Rules of Civil

Procedure is likewise misplaced. To the extent EY believes Rule 26 requires X Corp. to meet and

confer with it before serving a third-party subpoena, EY is incorrect. Rule 26(d)(1) refers to a



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meet and confer between “the parties,” and EY is not a party to the underlying case. Either way,

counsel for X Corp. and counsel for EY met and conferred numerous times prior to X Corp.’s

issuance of the subpoena. Koffmann Decl. ¶ 22. If the objection is that X Corp. was required to

meet and confer with Plaintiff the United States before serving any discovery related to X Corp.’s

Rule 60 motion, that objection is misplaced too. Rule 26(d) governs the timing of discovery in

newly filed civil cases, before an initial case management conference has even been held. See Fed.

R. Civ. P. 26(f)(1) (“the parties must confer as soon as practicable—and in any event at least 21

days before a scheduling conference is to be held or a scheduling order is due under Rule 16(b).”).

X Corp. seeks relief under Rule 60, which can only occur after entry of final judgment. Rule 26

does not apply in this posture.

       D.      EY Has Not Carried Its Burden To Show Undue Burden

       EY’s undue-burden objection fails because it has not made the required “specific, detailed

showing of how the discovery request is burdensome.” Thong v. Salon, No. 06 Civ. 1807 (RCL)

(AK), 2008 WL 11391660, at *1 (D.D.C. Dec. 1, 2008). Often, “federal courts reject out of hand

claims of burdensomeness which are not supported by a specific, detailed showing, usually by

affidavit, of why weighing the need for discovery against the burden it will impose permits the

conclusion that the court should not permit it.” Nat. Res. Def. Council v. Curtis, 189 F.R.D. 4, 13

(D.D.C. 1999); see In re Motion to Compel Compliance with Subpoena Directed to Cooke Legal

Grp., PLLC, 333 F.R.D. 291, 295 (D.D.C. 2019). Here too, “[g]eneral objections or boilerplate

objections ‘do not comply with Fed. R. Civ. P. 34(b) and courts disfavor them.’” Mass. Hous. Fin.

Agency, 2005 WL 8178349, at *3 (quoting Athridge v. Aetna Cas. & Surety Co., 184 F.R.D. 181,

190 (D.D.C. 1998)).

       EY has failed to explain why producing documents pursuant to the requests would be

unduly burdensome, and its objection should be overruled for that reason alone. For example,



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there can be no cognizable burden whatsoever in producing to X Corp. what EY already produced

to the FTC, given those documents have been reviewed, processed, and prepared for production

within the last six months. That is nothing more than a push-button exercise. Yet EY refused even

that compromise offer, which X Corp. made both before and after issuing the subpoena. Koffmann

Decl. ¶¶ 22–23. See In re Firstenergy Corp. Sec. Litig., 229 F.R.D. 541, 545 (N.D. Ohio 2004)

(a party “cannot … allege any burden from providing documents that it has already reviewed and

compiled”); Pension Tr. Fund for Operating Engineers v. Assisted Living Concepts, Inc.,

943 F. Supp. 2d 913, 915 (E.D. Wis. 2013) (“[W]here documents have already been collated and

produced to other entities, the burdens of discovery are far less substantial.”); Willis v. Big Lots,

Inc., No. 2:12 Civ. 604, 2014 WL 12656500, at *2 (S.D. Ohio Apr. 16, 2014) (similar). And for

the reasons detailed above with respect to relevance, it is simply untrue that the subpoena seeks

documents with “minimal value… in resolving the issues in the Action.” Ex. 17 at 6. EY has

played a central role in the underlying dispute and its documents are likely to provide information

critical to resolving X Corp.’s pending motion.

       To the extent that EY asserts this objection on the basis that the discovery sought can be

obtained from other sources, “Rule 45 does not require a party to demonstrate that information

cannot be obtained from another party before subpoenaing it from a third party.” Ceuric v. Tier

One, LLC, 325 F.R.D. 558, 561 (W.D. Pa. May 17, 2018). Accordingly, these objections should

be overruled.

       E.       EY’s Attorney-Client Privilege & Work Product Objections Are Insufficient

       EY’s privilege objections cannot justify wholesale refusal to respond to the subpoena.

“[T]he attorney-client privilege must be strictly confined within the narrowest possible limits

consistent with the logic of its principle.” In re Lindsey, 158 F.3d 1263, 1272 (D.C. Cir. 1998).

This privilege “carries costs,” including the withholding of potentially critical evidence from the



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factfinder. In re Kellogg Brown & Root, Inc., 756 F.3d 754, 764 (D.C. Cir. 2014). Courts tolerate

the privilege only to the extent necessary “to encourage full and frank communication between

attorneys and their clients and thereby promote broader public interests in the observance of law

and the administration of justice.” Swidler & Berlin v. United States, 524 U.S. 399, 403 (1998);

Western Trails, Inc. v. Camp Coast to Coast, Inc., 139 F.R.D. 4, 8 (D.D.C. 1991) (“The privilege

is an exception … to the fundamental principle that discovery should be liberal and broad in

furtherance of the search for truth.”).

       “[G]eneral claims of privilege are inadequate” objections under the Federal Rules of Civil

Procedure. Klayman v. Judicial Watch, Inc., No. 06 Civ. 670 (CKK) (AK), 2008 WL 11394169,

at *3 (D.D.C. Mar. 12, 2008). Furthermore, if responsive documents exist and have been withheld,

EY is required to compile and serve X Corp. with a privilege log which complies with Rule

26(b)(5). See id. (“Plaintiff did not provide a privilege log or other means for the Court or opposing

counsel to evaluate whether the materials sought were, in fact, subject to the enumerated

privileges. . . . [T]he Court finds that Plaintiff’s general claims of privilege are inadequate under

Rule 26(b).”).

       EY objects to the production of “memoranda and notes drafted by EY’s counsel relating to

communications with the FTC.” Ex. 17 at 8. But EY “bears the burden of proving that the

communications are protected,” In re Lindsey, 158 F.3d at 1270, and “[a]s oft-cited definitions of

the privilege make clear, only communications that seek ‘legal advice’ from ‘a professional legal

adviser in his capacity as such’ are protected.” Id. “A lawyer’s profession is not a talisman of

privilege, automatically granting attorneys immunity from discovery under the federal rules.”

Bank of Am. v. Ga. Farm Bureau Mut. Ins. Co., No. 3:12 Civ. 155 (CAR), 2014 WL 4851853, at

*2 (M.D. Ga. Sept. 29, 2014). Request 2 seeks documents that “describe, summarize, memorialize,




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or otherwise record or attempt to record any oral communications between you and the Federal

Trade Commission.” Ex 16. “No contention can be made that the attorney-client privilege

precludes disclosure of factual information. The privilege does not protect facts communicated to

an attorney.” Smith v. Gen. Mills, Inc., No. C2 04-705, 2006 WL 7276959, at *3 (S.D. Ohio Apr.

13, 2006). To the extent that the memoranda and notes “convey[] … facts acquired from other

persons or sources, those facts are not privileged.” Neuder v. Battelle Pac. Nw. Nat. Lab’y,

194 F.R.D. 289, 292 (D.D.C. 2000) (citation omitted). And “[w]here business and legal advice

are intertwined, the legal advice must predominate for the communication to be protected.” Id.

Moreover, “a corporate client should not be allowed to conceal a fact by disclosing it to the

corporate attorney.” Id. at 293 (citation omitted). Thus, EY must produce any memoranda or

notes that do not contain legal advice and must log any withheld or redacted portions of documents

that do contain legal advice.

       F.      EY’s Confidentiality Objection Is Insufficient

       EY further objects to the subpoena to the extent it seeks confidential, proprietary, and

sensitive business information of non-party EY, including, but not limited to, confidential internal

correspondence between EY employees. But a party may not rely on the confidential nature of

documents as a basis for refusing to produce them, because “[c]onfidentiality does not equate to

privilege.” Hill v. Dillard’s, Inc., No. 00–2523–JWL, 2001 WL 1718367, *4 (D. Kan. Oct.9,

2001). As the Supreme Court has recognized, “there is no absolute privilege for ... confidential

information” and “orders forbidding any disclosure of trade secrets or confidential commercial

information are rare.” Federal Open Market Committee v. Merrill, 443 U.S. 340, 362 & n. 24

(1979); see also Morrison-Knudsen Co. v. Department of Army, 595 F.Supp. 352, 355 (D.D.C.

1984), aff’d mem., 762 F.2d 138 (D.C. Cir. 1985). “A survey of the relevant case law reveals that

discovery is virtually always ordered once the movant has established that the secret information



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is relevant and necessary.” Coca-Cola Bottling Co. of Shreveport v. Coca-Cola Co., 107 F.R.D.

288, 293 (D. Del. 1985). EY has not even attempted to demonstrate that its information is

confidential. Should it do so, EY may seek a protective order to prevent the disclosure of the

documents to third parties. See Fed. R. Civ. P. 26(c).

        G.     EY’s Objections That The Document Requests Are Vague and Ambiguous Are
               Also Without Merit

        EY’s response generally objects “to the extent that individual Requests in the Subpoena

are not set forth with sufficient particularity or contain terms that are argumentative, insufficiently

defined, vague, ambiguous, and/or unlimited in scope,” and also specifically objects that the

meaning of one or more terms within a request or topic is “vague and ambiguous.” See Ex. 17.

But asserting that requests or terms are vague or ambiguous without any explanation is not a valid

objection. See Klayman, 2008 WL 11394169, at *3 (rejecting plaintiff’s “boilerplate objections,

such as vagueness, burden, relevance and privilege” because these boilerplate objections are

“inconsistent with both the letter and the spirit of the Federal Rules of Civil Procedure”).

Furthermore, the terms that EY asserts are vague and ambiguous—e.g., “you,” and “X Corp,”—

are specifically defined within the subpoena. See Ex. 16 at 5–7 (“Attachment A”). The objection

is baseless.

V.      CONCLUSION

        For the foregoing reasons, X Corp. respectfully requests the Court grant this Motion and

issue an order requiring EY to produce all responsive documents immediately.




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DATED: August 25, 2023          Respectfully submitted,

                                QUINN EMANUEL URQUHART &
                                SULLIVAN, LLP


                                 By /s/ Christopher G. Michel
                                   QUINN EMANUEL URQUHART &
                                   SULLIVAN, LLP
                                   Christopher G. Michel (DC Bar ID: 1034557)
                                   Casey J. Adams (DC Bar ID: 90012729; pro hac
                                   vice application forthcoming)
                                   Rachel G. Frank (DC Bar ID: 1659649; application
                                   to this court pending)
                                   1300 I Street NW, Suite 900
                                   Washington, D.C. 20005
                                   Telephone: (202) 538 8000
                                   Facsimile: (202) 538 8100
                                   christophermichel@quinnemanuel.com
                                   caseyadams@quinnemanuel.com
                                   rachelfrank@quinnemanuel.com

                                    Alex Spiro (pro hac vice application forthcoming)
                                    Daniel R. Koffmann (pro hac vice application
                                    forthcoming)
                                    51 Madison Ave, 22nd Floor
                                    New York, NY 10010
                                    Telephone: (212) 849-7000
                                    Facsimile: (212) 849-7100
                                    alexspiro@quinnemanuel.com
                                    danielkoffmann@quinnemanuel.com

                                    Attorneys for X Corp.




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